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                           IN THE UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   INDIANAPOLIS DIVISION

 ADAM ROSS,
                          Plaintiff,                     CASE NO. ​1:18-cv-01258-JRS-TAB
 v.

 BALL STATE UNIVERSITY,
                Defendant.

               MOTION TO EXTEND DISPOSITIVE MOTIONS DEADLINE
                          AND CONTINUE TRIAL DATE

        Comes now the Defendant, by counsel, and moves to extend the dispositive motions

 deadline and continue the trial date. In support of said Motion, Defendant states:

        1.      The dispositive motions deadline in this matter is April 25, 2019.

        2.      The Final Pre-Trial Conference is scheduled for November 26, 2019 and the Jury

 Trial is scheduled for December 16, 2019.

        3.      Discovery is not complete. Defendant served over 7000 pages of documents in

 response to Plaintiff’s Requests for Production, and Plaintiff’s counsel has informed defense

 counsel more time is needed to review those documents. Also, Plaintiff has not yet returned

 answers to Defendant’s Interrogatories nor produced documents in response to Defendant’s

 Requests for Production of Documents. Upon completion of the paper discovery phase, both

 parties have depositions they wish to take. The parties anticipate discovery will be complete by

 the end of June, 2019.

        4.      The parties anticipate a settlement conference with the Magistrate Judge in early

 July, 2019.

        5.      Defendant anticipates filing a dispositive motion in this case if settlement is

 unsuccessful. Due to the foregoing status of discovery, Defendant will not be in a position to
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 prepare the motion by the due date of April 25, 2019 and requests an extension of time to and

 including August 2, 2019, to file any dispositive motion.

        6.      If a new dispositive motions date of August 2, 2019 is set, that means briefing

 pursuant to L.R. 56.1 will not likely be complete until at least September 16, 2019. That leaves

 insufficient time between the conclusion of the briefing and the current trial date to allow the

 Court time to consider the motion, and for the Court and the parties to prepare and conduct the

 necessary pre-trial filings and proceedings

        7.      The Defendant believes that it would be in the best interests of justice if the

 dispositive motions deadline and trial date are continued. Defendant requests that the dispositive

 motions date be continued to August 2, 2019; and, the trial date be continued to such a date as

 the Court believes allows adequate time to consider any such motion and to conduct any

 necessary pre-trial proceedings.

        8.      This Motion is not made to unduly delay these proceedings.

        WHEREFORE, Defendant respectfully requests the Court enter a Scheduling Order

 granting this Motion and reschedule the dispositive motions date and trial date as detailed herein.




                                                       DEFUR VORAN LLP


                                                       BY​/s/ Scott E. Shockley
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                                CERTIFICATE OF SERVICE

        I hereby certify that a copy of the above and foregoing document was served on the 4th
 day of April, 2019 to the following counsel of record by the Court’s electronic filing system:


 Brett Errol Osborne
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 Suite 410
 Indianapolis, IN 46250
                                                 /s/ Scott E. Shockley
                                                 Scott E. Shockley
